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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

    ILLINOIS COALITION FOR IMMIGRANT
    AND REFUGEE RIGHTS, INC.,
                                                      Case No. 19-cv-6334
          Plaintiff,
                                                      Judge Gary Feinerman
          v.

    ALEJANDRO MAYORKAS, in his official
    capacity as Secretary of U.S. Department of
    Homeland Security; U.S. DEPARTMENT OF
    HOMELAND SECURITY,

                         et al.,

          Defendants.

                                   JOINT STATUS REPORT

       Pursuant to this Court’s order, Dkt. 246, Plaintiff ICIRR and Defendants submit the
following joint status report in advance of the March 12, 2021 status hearing.

DEFENDANTS’ POSITION

        As reflected in the February 19, 2021 status report, the Department of Homeland Security
(“DHS”), under Secretary Mayorkas, has been reviewing the Public Charge Rule in response to
an Executive Order issued by President Biden just over a month ago, on February 2, 2021.1 The
U.S. Department of Justice (“DOJ”), in turn, has likewise been assessing how to proceed in the
relevant litigations concerning the Public Charge Rule. Defendants will file a notice with the
Court promptly after a determination is made by DHS and/or DOJ which would have a material
effect on this litigation.

PLAINTIFF’S POSITION




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 https://www.whitehouse.gov/briefing-room/presidential-actions/2021/02/02/executive-order-
restoring-faith-in-our-legal-immigration-systems-and-strengthening-integration-and-inclusion-
efforts-for-new-americans/.



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        Defendants continue to provide no assurance that they will make any changes to the
public charge rule as it currently applies today. Plaintiff noted in its call with Defendants that
what ICIRR feared would happen – multiple extensions with no movement – has indeed
happened. To date, Defendants continue to request that the U.S. Supreme Court and the U.S.
Court of Appeals for the Seventh Circuit overturn this Court’s prior rulings and uphold the Rule.

       Since the parties’ last Joint Status Report (Dkt. 245), Defendants have succeeded
obtaining certiorari in parallel litigation, Department of Homeland Security v. New York, No. 20-
449 (Oct. 7, 2020). Order List (02/22/2021) (https://www.supremecourt.gov/
orders/ordersofthecourt/20) at 4. The petition for certiorari in this matter continues to pend at the
Supreme Court. Docket No. 20-450 (U.S.). While the petition is pending with the Supreme
Court, briefing is suspended at the Seventh Circuit. ECF No. 21, Cook County v. Wolf, No. 20-
3150 (7th Cir.).

        Plaintiff and the communities it serves are facing well-documented harms each day the
Rule is in effect. Plaintiff continues to desire to continue to move this case toward its conclusion
on the Equal Protection claim that is independent of the claims before the Supreme Court and
Seventh Circuit. This claim could provide an independent basis for vacatur of the Rule.

       Plaintiff continues to object to any stay of proceedings.

Dated: March 5, 2021

                                                  Respectfully submitted,

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